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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )                    8:09CR348
       vs.                                     )
                                               )                      ORDER
FRANCISCO M. HERRERA-                          )
CASTRO,                                        )
                                               )
                       Defendant.


       This matter is before the court on the defendant's motion for a 30-day extension of
time in which to file pretrial motions [16]. Upon review of the file, the court finds that a 14-
day extension should be granted.

        IT IS ORDERED that the Motion to Continue Filing Pretrial Motions [16] is granted,
in part, as follows:

       1.    The deadline for filing pretrial motions is extended to October 28, 2009.

       2.    Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between October 14, 2009 and October 28, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason that counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B)(iv).

       4.    Trial will be set by further order of the court.

       DATED 15th day of October, 2009.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
